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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA


 K.R., a minor, by and through his parent
 and natural guardian, Kali Proctor,
 G.H., a minor, by and through her parent      Case No. 19-cv-00999 (DWF / LIB)
 and natural guardian, Katelyn Hansen,
 P.K., a minor, by and through his parent
 and natural guardian, Roynetter Birgans,
 L.G., a minor, by and through her parent        PLAINTIFF’S MOTION TO
 and natural guardian, Desmond Gilbert,          APPROVE UNCONTESTED
                                               PETITION TO APPROVE MINOR
       Plaintiffs,                                 SETTLEMENT UNDER
                                                    MINN. STAT. § 540.08
 v.

 Duluth Public Schools Academy
 d/b/a Duluth Edison Charter Schools,

       Defendant.



      Pursuant to LR 7.1 and Minn. Stat. § 540.08, Plaintiff G.H., a minor by and through

her respective guardian, respectfully moves this Court for an Order approving her

Uncontested Petition to Approve Minor Settlement. This Motion is based upon all of the

files, records and proceedings herein, including Plaintiff’s Uncontested Petition, the

Declarations of Rebekah L. Bailey and Katelyn Hansen, and such other points and

authorities as may be presented.



Dated: July 1, 2021                     NICHOLS KASTER, PLLP

                                        /s/Melanie A. Johnson
                                        Matthew H. Morgan, MN Bar No. 304657
                                        Rebekah L. Bailey, MN Bar No. 0389599
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